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SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION
UNITED STATES OF. AMERICA : Case No. 91-6060-CR-FAM
Plaintiff, :
-vs- : Wednesday, 9:45 a.m.
October 25, 1995
a , Miami, Florida
AUGUSTO FALCON and SALVADOR :
MAGLUTA, FILED by D.C\
; APPEAL
Defendants. : NUV 2 cUUd
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8.0. OF FLA. - MIAMI
VOLUME VII
TRANSCRIPT OF PROCEEDINGS
BEFORE THE HONORABLE FEDERICO A. MORENO
AND A JURY
APPEARANCES:
For the Government: CHRISTOPHER CLARK
and MIKE PATRICK SULLIVAN
‘ Assistant United States
Attorneys
For the Defendant: ALBERT J. KRIEGER, ESQ.
AUGUSTO FALCON: - and SUSAN VAN DUSEN, ESQ.
|
For the Defendant: MARTIN G. WEINBERG, ESQ.
SALVADOR MAGLUTA: ‘and ROY BLACK, ESQ.
Court Reporter: “ANTON. B. SCHWARTZ
* Official Court Reporter

U.S. DISTRICT COURT, SOUTHERN DISTRICT OF FLORIDA

 

 
